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 4

 5   Attorney for EDWIN FORREST LUDWIG, III
 6

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 8                        UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10

11                                    No.       2:14-cr-43 GEB
     United States of America,
12                                    STIPULATION AND [PROPOSED] ORDER TO
                  Plaintiff,          CONTINUE JUDGMENT AND SENTENCING AND
13                                    MODIFY THE DISCLOSURE AND BRIEFING
          v.                          SCHEDULE
14   Edwin Forrest Ludwig, III       Judge:       Hon. Garland E. Burrell, Jr.
15                                   Time:        9:00 a.m.
                  Defendant.         Date:        September 1, 2017
16

17        IT IS HEREBY STIPULATED by and between the parties hereto

18   through their respective counsel, AMY HITCHCOCK, Assistant United

19   States Attorney, and DUSTIN D. JOHNSON, Counsel for EDWIN FORREST

20   LUDWIG, III, that the Judgment and Sentencing hearing date of

21   July 28, 2017 be vacated, the matter be set for Judgment and

22   Sentencing on September 1, 2017 at 9:00 a.m. The reason for this

23   continuance is to allow defense counsel additional time to review

24   the proposed Pre-Sentence reports and the final Pre-Sentence

25   report with their clients. Mr. Ludwig, III, lives out of state

26   which makes providing him with a copy of the PSR and reviewing it

27   with them more difficult than in most cases.

28        The probation officer has provided the following briefing
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 1   schedule based on the new Judgment and Sentencing Date of

 2   September 1, 2017:

 3   •      Reply, or Statement of Non-Opposition:          August 25, 2017

 4   •      Motion for Correction of the Pre-Sentence Report shall be

 5          filed with the Court and served on the Probation Officer and

 6          opposing counsel no later than: August 18, 2017

 7   •      The Pre-Sentence Report shall be filed with the Court and

 8          disclosed to counsel no later than: July 28, 2017

 9   •      Counsel's written objections to the Pre-Sentence Report

10          shall be delivered to the Probation Officer and opposing

11          counsel no later than:       July 14, 2017

12          The prosecutor has authorized defense counsel to sign this

13   stipulation on her behalf.

14          The probation officer has no objection to the new J&S date

15   and briefing schedule.

16

17   Dated: June 28, 2017                 Respectfully Submitted,

18                                        /s/ Dustin Johnson
                                          DUSTIN D. JOHNSON
19                                        Attorney for Defendant
                                          EDWIN FORREST LUDWIG, III
20
21
     Dated: June 28, 2017                 PHILLIP TALBERT
22                                        United States Attorney
23                                        /s/ Amy Hitchcock (via email)
                                          AMY HITCHCOCK
24                                        Assistant U.S. Attorney
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 7

 8                           UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,           No.    2:14-cr-43 GEB

12                   Plaintiff,        ORDER

13          v.                         Judge:    Hon. Garland E. Burrell, Jr.
                                       Time:     9:00a.m.
14   Edwin Forrest Ludwig, III,        Date:     September 1, 2017

15                   Defendant.
16

17            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it

18   is ordered that 1) the Judgment and Sentencing hearing date of

19   July 28 be vacated, 2) the matter be set for Judgment and

20   Sentencing on September 1, 2017 at 9:00 a.m, and 3) the following
21
      disclosure and briefing schedule be adopted:
22   •    Reply, or Statement of Non-Opposition: August 25, 2017
23   •      Motion for Correction of the Pre-Sentence Report shall be
24          filed with the Court and served on the Probation Officer and
25          opposing counsel no later than: August 18, 2017
26   •      The Pre-Sentence Report shall be filed with the Court and
27          disclosed to counsel no later than: July 28, 2017
28
                                            3
         Case 2:14-cr-00043-KJM Document 283 Filed 06/29/17 Page 4 of 4


 1   •      Counsel's written objections to the Pre-Sentence Report

 2          shall be delivered to the Probation Officer and opposing

 3          counsel no later than:       July 14, 2017

 4          Dated:    June 29, 2017

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